JCG:DBS

            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA, ) CASE NO.:
                             )
          Plaintiff,         )
                             )
     v.                      )
                             )
 PETER J. BADDICK, III., DO. )
                             )
              Defendant.     )

                             COMPLAINT

     Plaintiff, the United States of America, by its attorney, John C.

Gurganus, United States Attorney for the Middle District of

Pennsylvania, alleges as follows:

I.   INTRODUCTION

     1.    This is a civil fraud action brought by the United States

against Dr. Peter J. Baddick, III, under the False Claims Act, 31 U.S.C.

§ 3729 et seq., to recover treble damages and civil penalties and for

damages under the common law theory of payment by mistake of fact

resulting from false and/or fraudulent claims for controlled substance

prescriptions that Dr. Baddick caused to be submitted to the Medicare

Program and TRICARE.
II.   JURISDICTION AND VENUE

      2.   The United States brings this action pursuant to the False

Claims Act (FCA), 31 U.S.C. §3729, et seq.

      3.   This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. § § 1331 and 1345.

      4.   The Court may exercise personal jurisdiction over the

defendant pursuant to 31 U.S.C. § 3732(a) because that section

authorizes nationwide service of process and because the defendant can

be found in and has transacted business within the Middle District of

Pennsylvania.

      5.   Venue is proper in the Middle District of Pennsylvania under

31 U.S.C. § 3732(a), because Dr. Baddick’s actions caused a pharmacy

located in the Middle District of Pennsylvania to submit false claims to

the Medicare Program and TRICARE in violation of 31 U.S.C. § 3729.

III. THE PARTIES

      6.   Plaintiff is the United States of America.

      7.   Defendant Dr. Peter J. Baddick, III, is an individual residing

in the Commonwealth of Pennsylvania.

      8.   In 1994, Dr. Baddick received a medical degree from the

Philadelphia College of Osteopathic Medicine.

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      9.    In 1995, Dr. Baddick received an Osteopathic Physician and

Surgeon     license   (No. OS008960L)     from the     Commonwealth of

Pennsylvania.

      10.   Dr. Baddick does not hold any board certifications.

      11.   In 1996, Dr. Baddick applied for and received DEA

authorization to prescribe Schedule II, III, IV and V controlled

substances.

      12.   At times relevant to this Complaint, Dr. Baddick has

practiced family medicine within the Middle District of Pennsylvania.

IV.   LEGAL AND REGULATORY FRAMEWORK

            THE CONTROLLED SUBSTANCES ACT

      13.   The Controlled Substances Act (CSA) governs the

manufacture, distribution, and dispensation of controlled substances in

the United States.      In order to prevent any person from diverting

controlled substances from legitimate to illegitimate uses, the CSA

established a closed regulatory system under which it is unlawful to

manufacture, distribute, dispense, or possess any controlled substance

except in a manner authorized by the CSA.

      14.   The CSA classifies controlled substances into five schedules:

I, II, III, IV and V. 21 U.S.C. § 812(c); 21 C.F.R. § 1308.01.

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     15.   Schedule II controlled substances are drugs that have an

accepted medical use but have a high potential for abuse which may lead

to severe psychological or physical dependence. 21 U.S.C.

§ 812(b)(2).

     16.   The CSA classified Subsys as a Schedule II drug.

           THE FALSE CLAIMS ACT

     17.   The False Claims Act (FCA) provides, in pertinent part, that

any person who:

           (A)     knowingly presents, or causes to be presented, a false or
                   fraudulent claim for payment or approval;

           (B)     knowingly makes, uses or causes to be made or used, a
                   false record or statement material to a false or
                   fraudulent; [or]

           (C)     conspires to commit a violation of subparagraph (A) [or]
                   (B) . . .

           (D)     is liable to the United States Government [for statutory
                   damages and such penalties as are allowed by law].
                   31U.S.C. § § 3729(a)(1)-(3) (2006), as amended by 31
                   U.S.C. § 3729(a)(1)(A)-(C) (2010).

     18.   The FCA further provides that “knowing” and “knowingly”

           (A)     means that a person, with respect to information —

                  i.    has actual knowledge of the information;

                 ii.    acts in deliberate ignorance of the truth or falsity
                        of the information; or
                                      4
               iii.       acts in reckless disregard of the truth or falsity of
                          the information; and

             (B)   requires no specific intent to defraud.

31 U.S.C. § 3729(b) (2006), as amended by 31 U.S.C. § 3729(b)(1) (2010).

       19.   The FCA, 31 U.S.C. § 3729(a)(1), provides that any person

who violates the FCA is liable to the United States Government for three

times the amount of damages which the Government sustains because of

the act of that person, plus a civil penalty of not less than $5,500 and not

more than $11,000 for each violation of the FCA 31 U.S.C. § 3729 and

28 C.F.R. § 85.3(a)(9).

             THE MEDICARE PROGRAM

       20.   Congress established the Medicare Program in 1965 to

provide health insurance coverage for people age 65 or older and for

people with certain disabilities or afflictions. See 42 U.S.C. §§ 1395, et.

seq.

       21.   Medicare is funded by the federal government and

administered by the Centers for Medicare & Medicaid Services (CMS),

which is part of the United States Department of Health and Human

Services (HHS).


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     22.   The Medicare program consists of four parts: A, B, C, and D.

Defendant here submitted, or caused to be submitted, claims under

Medicare Parts B and D.

     23.   In 2003, Congress passed the Medicare Prescription Drug,

Improvement, and Modernization Act (MMA), Pub. L. 108-173, 117 Stat.

2066, which established a voluntary prescription drug benefit program

for Medicare enrollees known as Medicare Part D.

     24.   Part D coverage is not provided within the traditional

Medicare program. Medicare Part D is based on a private market model.

Medicare contracts with private entities known as Part D Plan

“Sponsors” to administer prescription drug plans.

     25.   Part D benefits are delivered by a Part D Plan Sponsor, which

is either a prescription drug plan, a Medicare Advantage organization

that offers a Medicare Advantage prescription drug plan (MA-PD plan),

a Program of All-inclusive Care for the Elderly (PACE) organization

offering a PACE plan including qualified prescription drug coverage, or

a cost plan offering qualified prescription drug coverage. 42 C.F.R. §

423.4.

     26.   When a pharmacy dispenses a drug to a Medicare beneficiary,


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it submits an electronic claim to the beneficiary’s Part D plan and

receives reimbursement from the Part D Plan Sponsor for the costs not

paid by the beneficiary.

     27.    The Part D Plan Sponsor then notifies CMS that a drug has

been dispensed to a Medicare Part D beneficiary through a data file called

a Prescription Drug Event (PDE) record, which includes data elements

about the drug dispensed, the prescription, and the payment to the

pharmacy.

     28.    Each PDE that is submitted to CMS is a summary record that

documents the final adjudication of a dispensing event based upon claims

received from pharmacies. The data contained in PDEs are data related

to payment of claims. The Integrated Data Repository (IDR) process date

is the date when the PDE is transmitted to CMS, such that CMS is

informed of the PDE by the Part D Plan Sponsor.

     29.    In addition, CMS uses the information in the PDE at the end

of the payment year to reconcile its advance payments to the sponsor with

actual costs the plan sponsor incurred.      See “Updated Instructions:

Requirements for Submitting Prescription Drug Event Data (PDE)”

(April 27, 2006).


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     30.   Throughout the year, CMS makes prospective payments to

Part D Plan Sponsors for three subsidies based on the Sponsors’ approved

bids: (1) the direct subsidy designed to cover the Sponsor’s cost of

providing the benefits; (2) the low-income cost-sharing subsidy; and (3)

the reinsurance subsidy.

     31.   The direct subsidy (a monthly capitated payment) is paid to

the Part D Plan Sponsor in the form of advance monthly payments equal

to the Part D Plan’s standardized bid, risk adjusted for health status as

provided in 42 C.F.R. § 423.329(b), minus a monthly beneficiary premium

as determined in 42 C.F.R. § 423.315(b). In other words, CMS pays a

monthly sum to the Part D Plan Sponsor for each Part D beneficiary

enrolled in the plan.

     32.   CMS also makes payments to the Part D Plan Sponsor for

premium and cost sharing subsidies on behalf of certain subsidy-eligible

individuals as provided in 42 C.F.R. § 423.780 and 42 C.F.R. § 423.782.

Cost-sharing subsidies for qualifying low-income individuals are called

“Low-Income Cost Sharing Subsidies (LICS)” and are documented and

reconciled using PDE data submitted to CMS.

     33.   Part D sponsors who fail to submit required claims-level


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information contained in the PDE to CMS risk having to return the

monthly payments to CMS during reconciliation.           See 42 C.F.R. §

423.343(b), (c)(2) and (d)(2). In addition, Part D Sponsors are responsible

for correcting submitted PDE data they determine are erroneous. See

“Updated Instructions: Requirements for Submitting Prescription Drug

Event Data (PDE)” at 4 (April 27, 2006).

     34.   After the close of the plan year, CMS is responsible for

reconciling the prospective payments to the Part D Sponsor’s actual

allowable costs by relying upon data elements submitted by Sponsors in

their PDE records and direct and indirect renumeration (IDR) data.

     35.   In order to receive Part D funds from CMS, Part D Plan

Sponsors, their authorized agents, employees, and contractors are

required to comply with all applicable federal laws, regulations, as well

as CMS instructions.

     36.   By statute, all contracts between a Part D Plan Sponsor and

HHS must include a provision whereby the Plan Sponsor agrees to

comply with the applicable requirements and standards of the Part D

program as well as the terms and conditions of payment governing the

Part D program. 42 U.S.C. § 1395w-112.


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     37.     Medicare Part D Plan Sponsors must also certify in their

contracts with CMS that they agree to comply with all federal laws and

regulations designed to prevent fraud, waste, and abuse. 42 C.F.R. §

505(h)(1).

     38.     CMS regulations require that all subcontracts between Part

D Plan Sponsors and downstream entities contain language obligating

the pharmacy to comply with all applicable federal laws, regulations, and

CMS instructions, including the CSA. 42 C.F.R. § 423.505(i)(4)(iv).

     39.     A Part D Plan Sponsor is required by federal regulation to

certify to the accuracy, completeness and truthfulness of all data related

to the payment.     This provision, entitled “Certification of data that

determine payments,” provides in relevant part, as follows:

     (1)   General Rule. As a condition for receiving a monthly
           payment . . . the Part D Plan sponsor agrees that its chief
           executive officer (CEO) chief financial officer (CFO), or an
           individual delegated the authority to sign on behalf of one of
           these officers, . . must request payment under the contract
           on a document that certifies (based on best knowledge,
           information and belief) the accuracy, completeness, and
           truthfulness of all data related to payment.
        ...
     (2) [Part D Sponsor] Certification of Claims Data: The CEO,
           CFO, or an individual delegated with the authority to sign on
           behalf of one of these officers, . . . must certify (based on best
           knowledge, information and belief) that the claims data it
           submits . . . are accurate, complete and truthful and

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           acknowledge that the claims data will be used for the purpose
           of obtaining Federal reimbursement.

42 C.F.R. § 423.505(k)(1), (k)(3) and (k)(5) (emphasis added).

     40.   All approved Part D Plan Sponsors who received payment

under Medicare Part D in benefit years relevant to this case submitted

the required attestations for data submitted that related to payment. 42

C.F.R. § 423.505(k).

     41.   The “Certification of data that determines payments”

provision of the applicable regulation further provides: “[i]f the claims

data are generated by a related entity, contractor, or subcontractor of a

Part D plan sponsor, the entity, contractor, or subcontractor must

similarly certify (based on best knowledge, information, and belief) the

accuracy, completeness, and truthfulness of the data and acknowledge

that the claims data will be used for the purposes of obtaining Federal

reimbursement.” 42 C.F.R. § 423.505(k)(3).

     42.   Compliance with the requirement that PDE data submitted

by the Plan Sponsor is “true, accurate, and complete” is a condition of

payment to the Plan Sponsor under the Medicare Part D Program. Id.

and 42 C.F.R. § 423.505(k)(5).

     43.   Medicare only covers drugs that are used for a medically

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accepted indication, which means a use that is approved under the Food,

Drug, and Cosmetic Act, or a use which is supported by one or more

citations included or approved for inclusion in one of the specified

compendia. 42 U.S.C. § 1395w-102(e)(1) & (e)(4); 42 U.S.C. § 1396r-

8(g)(1)(B)(i) & (k)(6); 42 C.F.R. § 423.100.

     44.   PDEs submitted to Medicare for drugs that are not for a

medically accepted indication do not contain accurate, complete and

truthful information about all data related to payment.

     45.   Medicare only covers drugs that are dispensed upon a

prescription. 42 U.S.C. § 1395w-102(e); 42 C.F.R. § 423.100. A “Part D

sponsor may only provide benefits for Part D drugs that require a

prescription if those drugs are dispensed upon a valid prescription.” 42

C.F.R. § 423.104(h).      A valid prescription must comply “with all

applicable State law requirements constituting a valid prescription.” 42

C.F.R. § 423.100.

     46.   Part D plans may also exclude drugs from payment if the

drugs are not reasonable and necessary for the diagnosis or treatment of

illness or injury or to improve functioning of a malformed body part.




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42 U.S.C. § 1395w-102(e)(3) (incorporating by reference 42 U.S.C. §

1395y(a)).

     47.     Prescriptions for controlled substances that are not issued for

a legitimate medical purpose are not for “medically accepted indications”

and are therefore not covered Medicare Part D drugs. 42 U.S.C. § 1395w-

102(e)(1).

     48.     Prescriptions for controlled substances that are not issued for

a legitimate medical purpose are not “valid prescriptions” under

Pennsylvania law, 28 Pa. Code § 25.51 and § 25.52, and are therefore not

covered Medicare Part D drugs. 42 U.S.C. § 423.104(h).

     49.     PDEs submitted to Medicare for controlled substances that

are dispensed when not issued for a legitimate medical purpose by an

individual practitioner acting in the usual course of his or her

professional practice do not contain accurate, complete and truthful

information about all data related to payment.

             THE TRICARE PROGRAM

     50.     TRICARE is a federal healthcare program that is

administered by the Defense Health Agency (DHA), a component of the

Department of Defense (DoD). TRICARE provides health care insurance

for active-duty military personnel, military retirees, and military
                                     13
dependents. The funds used by TRICARE to pay medical claims of

qualified individuals are appropriated funds. 32 C.F.R.

§ 199.1(e).

     51.      TRICARE offers its beneficiaries a prescription drug benefit.

TRICARE beneficiaries may receive prescription drugs from three

different sources: military treatment facilities, the TRICARE Mail Order

Pharmacy, and retail pharmacies.

     52.      TRICARE will only pay “for medically necessary prescription

drugs required in the treatment of an illness or injury or in connection

with maternity care. . . . However, TRICARE benefits cannot be

authorized to support or maintain an existing or potential drug abuse

situation whether or not the drugs (under other circumstances) are

eligible for benefit consideration and whether or not obtained by legal

means.” 32 C.F.R. § 199.4.

     53.      When a TRICARE beneficiary’s prescription is submitted to

a TRICARE network pharmacy, the pharmacy submits an electronic

claim to the Pharmacy Benefit Manager (PBM) for that prescription

event. The PBM sends an electronic response to the pharmacy that

confirms the beneficiary’s TRICARE coverage, and if the prescription


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claim is granted, informs the pharmacy of the calculated pharmacy

reimbursement amount and the co-pay (if applicable) to be collected from

the beneficiary. The pharmacy then collects the co-pay amount (if any)

from the beneficiary and dispenses the medication. After a ten-day hold

to ensure the prescription medication is delivered to the patient (and not

returned to the shelf by the pharmacy), the PBM sends a TRICARE

Encounter Data (TED) record electronically to TRICARE. The TED

record includes information regarding the prescription event, including

the prescriber’s identity, the date the prescription was written, the

number of refills authorized, the number of times the prescription has

been filled, the amount claimed for reimbursement, and information on

drug coverage under TRICARE.

     54.   TRICARE then authorizes the PBM to make payment to the

pharmacy for the amount remaining (after co-pay) on the claim. The

PBM sends the payment to the pharmacy. After the payment is made by

the PBM’s bank, the PBM’s bank requests reimbursement from the

Federal Reserve Bank (FRB). The FRB then transfers funds to the PBM’s

bank account.




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     55.    All   pharmacies    that        provide   services   to   TRICARE

beneficiaries are required to comply with TRICARE’s program

requirements, including its anti-abuse provisions. 32 C.F.R. § 199.9(a)(4).

TRICARE regulations provide that claims submitted in violation of

TRICARE’s anti-abuse provisions can be denied. Id. § 199.9(b). Billing for

costs for non-covered services is included within the definition of abusive

situations that constitute program fraud. Id. §§ 199.2(b), 199.9(c)(2).

More specifically, under TRICARE regulations, “[m]isrepresentations of

dates, frequency, duration, or description of services rendered, or of the

identity of the recipient of the services or the individual who rendered

the services” are “presumed to be fraud.” Id. § 199.2(c)(6).

     56.    Prescriptions for controlled substances that are not for

medically accepted indications are not covered by TRICARE.

     57.    During the relevant time period, Dr. Baddick wrote

prescriptions for Subsys for a TRICARE beneficiary that were not for

medically accepted indications. These prescriptions were filled by a

pharmacy.

     58.    Because it is not feasible for the TRICARE program, or its

contractors, to review medical records corresponding to each of the claims


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for payment it receives from providers, the program relies on providers

to comply with TRICARE requirements and relies upon providers to

submit truthful and accurate certifications and claims.

V.   FACTS

     A.    INSYS THERAPEUTICS AND SUBSYS

     59.   Insys was a pharmaceutical company that developed and

commercialized Subsys, a sublingual fentanyl spray. Subsys is classified

as a transmucosal immediate-release fentanyl.

     60.   Subsys was approved by the U.S.            Food and Drug

Administration in 2012 to treat breakthrough pain in adult cancer

patients who are opioid tolerant.

     61.   Insys developed a “speaker program” where Insys would

recruit and pay prescribers of Subsys to give presentations on the drug

during peer-to-peer lunches and dinners.

     62.   Dr. Baddick attended multiple Insys speaker program events

in Pennsylvania.

     63.   In order to prescribe Subsys, medical providers were required

to enroll in the FDA’s Transmucosal Immediate Release Fentanyl (TIRF)

Risk Evaluation and Mitigation Strategy (REMS) Access Program. A


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copy of a TIRF REMS ACCESS Prescriber Enrollment Form is attached

as Exhibit A.

      64.   To be enrolled in the TIRF REMS Access Program a provider

was required to certify that she/he “reviewed the TIRF REMS Access

Education Program, including Full Prescribing Information for each

TIRF medicine, and I have completed the Knowledge Assessment.” Ex.

A.

      65.   To be enrolled in the TIRF REMS Access Program a provider

was required to certify that she/he understood “that TIRF medicines are

indicated only for the management of breakthrough pain in patients with

cancer . . ..” Ex. A.

      66.   At times relevant to this Complaint, Dr. Baddick was enrolled

in the TIRF REMS Access Program.

      67.   Dr. Baddick was aware that Subsys was only approved by the

FDA to treat breakthrough cancer pain in adults who were opioid-

tolerant.

      68.   In 2015, Dr. Baddick began to prescribe Subsys to his non-

cancer patients.




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     B.    DR. BADDICK’S PRESCRIPTION PRACTICES

     69.   At times relevant to this Complaint, Dr. Baddick saw patients

at his medical practice, Penn Medical Group, P.C., located at 2175

Blakeslee Boulevard, Lehighton, PA 18235. Dr. Baddick was the sole

shareholder of the Penn Medical Group beginning in 1999.

     70.   Penn Medical Group, P.C. ceased operations on or about

September 28, 2019.

     71.   As a DEA registered physician, Dr. Baddick had a legal

responsibility to prescribe Schedule II drugs, including Subsys, in

accordance with the CSA.

     72.   At times relevant to this Complaint, Dr. Baddick would post-

date Subsys prescriptions for future dates.

     73.   At times relevant to this Complaint, Dr. Baddick repeatedly

prescribed Subsys, a Schedule II drug, under circumstances that were

not for a legitimate medical purpose in the usual course of professional

practice under Pennsylvania law. These patients include the following:

     PATIENT M.G.

     74.   At all times relevant to this Complaint, Patient M.G. was a

Medicare beneficiary.

     75.   Dr. Baddick had been treating M.G. since at least 2006.

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     76.   Medical records maintained by Dr. Baddick indicate that he

saw M.G. on April 1, 2015 for back pain. M.G. complained of back pain

for 25 years and stated she had received 23 injections to manage her pain.

The progress notes reflect that during the time M.G. was seen by Dr.

Baddick she had been diagnosed with chronic pain, herniated nucleus

pulposus lumbar and gastroesophageal reflux disease among other

maladies. There is no indication that M.G. was ever diagnosed with

cancer.

     77.   On   April   2,   2015,   Dr.   Baddick   signed   an   INSYS

Reimbursement Center and Patient Authorization & Referral Form

indicating that M.G. had been diagnosed with degeneration of cervical

intervertebral disc/degeneration of cervicothoracic intervertebral disc,

chronic pain and chronic pain syndrome.

     78.   On April 1, 2015, Dr. Baddick prescribed Subsys 200 mcg 4

times a day (30 units) to M.G.

     79.   M.G.’s April 1, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $1,280.94 for

the April 1st Subsys prescription written by Dr. Baddick.


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     80.    Dr. Baddick’s medical records indicate that he saw M.G. on

April 20, 2015, to follow up on back pain. The progress notes indicate

that M.G. was diagnosed with chronic pain syndrome.

     81.    The progress notes reflect that on April 20, 2015, Dr. Baddick

prescribed Subsys 1200 mcg 4 times a day (180 units) to M.G. Dr. Baddick

provided a prescription written to M.G. for Subsys 1200mcg dated April

17, 2015.

     82.    M.G.’s April 17, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $15,202.14 for

the April 17th Subsys prescription written by Dr. Baddick.

     83.    An April 23, 2015, progress note indicates that M.G. called Dr.

Baddick’s office to express concern that she may be having a reaction to

Subsys. M.G. reported that her heart rate was increased on April 22,

2015, and M.G. called an ambulance to her home. M.G. stated that she

was evaluated by the ambulance crew and was determined to be fine.

     84.    On or about May 12, 2015, a pharmacy submitted a claim to

Medicare Part D for a prescription of Subsys 1200 mcg (180 units) written

by Dr. Baddick.     Medicare paid the pharmacy $15,146.14. for the


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aforementioned Subsys prescription. Dr. Baddick has not provided any

medical records that appear to correspond to the aforementioned Subsys

prescription.

     85.   Dr. Baddick’s medical records indicate that he saw M.G. on

May 18, 2015, for a monthly medication check and refills on prescriptions

for OxyContin and Ambien. The medical notes reflect that M.G. told Dr.

Baddick Subsys was working fine. The medical records do not indicate

that Dr. Baddick wrote a Subsys prescription for M.G. during this visit.

     86.   On or about June 2, 2015, a pharmacy submitted a claim to

Medicare Part D for a prescription of Subsys 1200 mcg (240 units) written

by Dr. Baddick.     Medicare paid the pharmacy $20,194.60 for the

aforementioned Subsys prescription. Dr. Baddick has not provided any

medical records that appear to correspond to the aforementioned Subsys

prescription. Dr. Baddick provided a prescription written to M.G. for

Subsys 1200 mcg dated June 1, 2015.

     87.   Dr. Baddick’s medical records indicate that he saw M.G. on

June 24, 2015, for a monthly medication check and refills on prescriptions

for OxyContin and Subsys. The medical notes again reflect that M.G.

was being treated for chronic pain syndrome and back pain.


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     88.   On June 24, 2015, Dr. Baddick prescribed Subsys 1200 mcg 4

times a day (240 units) to M.G.

     89.   M.G.’s June 24, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $20,194.60 for

the June 24th Subsys prescription written by Dr. Baddick.

     90.   Dr. Baddick’s medical records indicate that he saw M.G. on

July 22, 2015, for a monthly medication check and prescription refill on

Ambien. Progress notes reflect that M.G. stated that a Subsys

prescription would need to be called into the pharmacy on July 24, 2015.

The medical notes again reflect that M.G. was being treated for chronic

pain syndrome and back pain.

     91.   On July 22, 2015, Dr. Baddick prescribed Subsys 1200 mcg 4

times a day (240 units) to M.G.

     92.   M.G.’s July 22, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $23,161.25 for

the July 22nd Subsys prescription written by Dr. Baddick.




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     93.   Dr. Baddick’s medical records indicate that he saw M.G. on

August 19, 2015, for a monthly medication check and prescription refills

for Subsys, Ambien and OxyContin. The medical notes again reflect that

M.G. was being treated for chronic pain syndrome and back pain.

     94.   On August 19, 2015, Dr. Baddick prescribed Subsys 1200 mcg

4 times a day (240 units) to M.G.

     95.   M.G.’s August 19, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $23,161.25 for

the August 19th Subsys prescription written by Dr. Baddick.

     96.   Medical records maintained by Dr. Baddick include a progress

note dated September 14, 2015, stating that M.G.’s prescription refill for

Subsys 1200 mcg (240 units) is scheduled for September 16, 2015.

     97.   Dr. Baddick’s medical records indicate that he saw M.G. on

September 16, 2015, for a monthly medication check and a prescription

refill for Oxycontin.

     98.   On September 16, 2015, Dr. Baddick prescribed Subsys 1200

mcg 4 times a day (240 units) to M.G.




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     99.   M.G.’s September 16, 2015, Subsys prescription written by

Dr. Baddick was filled by a pharmacy and the pharmacy submitted a

claim to Medicare Part D.       Medicare Part D paid the pharmacy

$23,161.25 for the September 16th Subsys prescription written by Dr.

Baddick.

     100. Dr. Baddick’s medical records indicate that he saw M.G. on

October 12, 2015, for a monthly medication check and a prescription refill

for OxyContin. The medical notes again reflect that M.G. was being

treated for chronic pain syndrome and back pain.

     101. On October 12, 2015, Dr. Baddick prescribed Subsys 1200 mcg

4 times a day (240 units) to M.G.

     102. M.G.’s October 12, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $23,161.25 for

the October 12th Subsys prescription written by Dr. Baddick.

     103. Dr. Baddick’s medical records indicate that he saw M.G. on

November 2, 2015, for a monthly medication check and prescription

refills for OxyContin, Ambien and Subsys. The medical notes again

reflect that M.G. was being treated for chronic pain.


                                    25
     104. On November 2, 2015, Dr. Baddick prescribed Subsys 1200

mcg four times a day (240 units) to M.G.

     105. M.G.’s November 2, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $23,161.25 for

the November 2nd Subsys prescription written by Dr. Baddick.

     106. Dr. Baddick’s medical records indicate that he saw M.G. on

December 1, 2015, for a monthly medication check and prescription refills

for OxyContin and Subsys. The medical notes again reflect that M.G.

was being treated for chronic pain and back pain.

     107. On December 1, 2015, Dr. Baddick prescribed Subsys 1200

mcg (240 units) to M.G.

     108. M.G.’s December 1, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to Medicare Part D. Medicare Part D paid the pharmacy $23,161.25 for

the December 1st Subsys prescription written by Dr. Baddick.

     109. Dr. Baddick’s medical records indicate that he saw M.G. on

December 22, 2015, and that M.G. was being seen for Subsys withdrawal.

The progress notes reflect that M.G. had been out of Subsys since


                                   26
December 18, 2015. M.G. admitted using more Subsys in December than

usual. M.G. requested to discuss other pain management strategies and

states she did not want to take medications with withdrawal reactions.

     110. The progress notes of December 22, 2015, reflect that M.G.

was complaining of shortness of breath, chest pain, hot and cold flashes,

and felt like bugs were crawling on her skin.

     111. The December 22, 2015, progress note assessment and plan

states that Dr. Baddick’s impression was that M.G. was experiencing

opioid withdrawal and polysubstance abuse.

     112. The December 22, 2015, progress note stated that M.G. would

discontinue Subsys as of December 22, 2015.

     113. Dr. Baddick’s medical records indicate that he saw M.G. on

December 29, 2015, and that M.G. was being seen to follow up on Subsys

withdrawal. The progress notes reflect that M.G. reported feeling better

and did not want to take Subsys.

     114. The December 29, 2015, progress note assessment and plan

states that Dr. Baddick’s impression was that M.G. was feeling better

after discontinuing Subsys and was no longer experiencing withdrawal

symptoms.


                                   27
     115. All of Dr. Baddick’s prescriptions for Subsys to Patient M.G.

from April of 2015 through December of 2015 are identified below:

        Date     of                          Paid          by
        Rx            Details/Dosage         Medicare
        4/1/2015      Subsys 200 mcg         $1,280.94
        4/17/2015     Subsys 1200 mcg        $15,202.14
        5/12/2015     Subsys 1200 mcg        $15,146.14
        6/1/2015      Subsys 1200 mcg        $20,194.60
        6/24/2015     Subsys 1200 mcg        $20,194.60
        7/22/2015     Subsys 1200 mcg        $23,161.25
        8/19/2015     Subsys 1200 mcg        $23,161.25
        9/16/2015     Subsys 1200 mcg        $23,161.25
        10/12/2015    Subsys 1200 mcg        $23,161.25
        11/2/2015     Subsys 1200 mcg        $23,161.25
        12/1/2015     Subsys 1200 mcg        $23,161.25

     116. M.G. did not have a cancer diagnosis. Subsys is not indicated

by the patient’s diagnoses.   Dr. Baddick prescribed Subsys to M.G.

without a legitimate medical purpose and outside the usual course of

professional practice. Therefore, none of the Subsys prescriptions Dr.

Baddick wrote for M.G. were valid, lawful prescriptions under

Pennsylvania law.

     PATIENT A.P.

     117. At times relevant to this Complaint, Patient A.P. was a

TRICARE beneficiary.




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     118. An Insys sales representative was advised by a mutual

acquaintance that A.P. suffered from sarcoidosis.

     119. In June of 2015, the Insys sales representative visited A.P. at

her home.

     120. During the visit to A.P.’s home, the Insys sales representative

recommended that A.P. make an appointment with Dr. Baddick to obtain

a Subsys prescription.

     121. At the time of the Insys sales representative’s visit to A.P.’s

home, A.P. was not being treated by Dr. Baddick. In fact, at the time of

the home visit, A.P. was unfamiliar with Dr. Baddick.

     122. A.P.’s first medical appointment with Dr. Baddick was June

10, 2015.

     123. On June 10, 2015, Dr. Baddick saw A.P. for the first time.

Medical records maintained by Dr. Baddick stated that A.P. would like a

prescription for Subsys.

     124. An Adult Health History for NEW Patients completed by A.P.

on June 10, 2015, stated that the main reason for the visit was chronic

pain. The medical history completed by A.P. at the initial visit did not

indicate that A.P. was or had been diagnosed with cancer.


                                   29
     125. The medical records indicated that Dr. Baddick diagnosed

and/or was treating A.P. for sarcoidosis, endometriosis, Raynaud’s

phenomenon, and chronic pain syndrome.

     126. The medical records indicated that A.P. should discontinue an

Oxycodone prescription and that Dr. Baddick would obtain old records

[medical records from A.P.’s other health care providers].

     127. After the initial appointment, Dr. Baddick prescribed Subsys

200 mcg four times a day (120 units) to A.P. on June 10, 2015. He also

prescribed OxyContin 20 mg to A.P.

     128. On    June   11,   2015,    Dr.   Baddick   signed   an   INSYS

Reimbursement Center and Patient Authorization & Referral Form

indicating that A.P. had been diagnosed with cancer, sarcoidosis, chronic

pain, chronic pain syndrome, and endometriosis.

     129. A.P.’s June 10, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to TRICARE. TRICARE paid the pharmacy $5,502.13 for the June 10th

Subsys prescription written by Dr. Baddick.




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     130. On or about June 22, 2015, Dr. Baddick instructed a medical

assistant in his office to prepare a prescription form for 1200 mcg (240

units) for A.P.

     131. Dr. Baddick signed a prescription form dated June 22, 2015,

prescribing Subsys 1,200 mcg four times a day (240 units) to A.P. Dr.

Baddick has not provided any records that indicate that he met with A.P.

on or around June 22, 2015.

     132. A.P.’s June 22, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to TRICARE. TRICARE paid the pharmacy $20,798.68 for the June 22nd

Subsys prescription written by Dr. Baddick.

     133. Dr. Baddick’s medical records indicate that he saw A.P. on

July 8, 2015, for a medication check and prescription refills for

OxyContin and Subsys. The medical notes state that A.P. was not due

for a Subsys prescription until July 22, 2015. The medical notes also

reflect that A.P. was diagnosed with sarcoidosis, chronic pain syndrome,

rheumatoid arthritis, and Raynaud’s phenomenon.

     134. On July 21, 2015, Dr. Baddick prescribed Subsys 600 mcg four

times a day (240 units) to A.P.


                                   31
     135. A.P.’s July 21, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to TRICARE. TRICARE paid the pharmacy $23,857.07 for the July 21st

Subsys prescription written by Dr. Baddick.

     136. Dr. Baddick’s medical records indicate that he saw A.P. on

August 3, 2015, for a monthly medication check and prescription refills

for OxyContin and Subsys. The medical notes again reflect that A.P. was

diagnosed with sarcoidosis, chronic pain syndrome, rheumatoid arthritis

and Raynaud’s phenomenon.

     137. On August 3, 2015, Dr. Baddick prescribed Subsys 600 mcg

four times a day (120 units) to A.P.

     138. A.P.’s August 3, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to TRICARE. TRICARE paid the pharmacy $11,918.66 for the August

3rd Subsys prescription written by Dr. Baddick.

     139. Dr. Baddick’s medical records indicate that he saw A.P. on

August 31, 2015, for a monthly medication check and prescription refills.

The notes reflect that A.P. expressed concerns regarding the risks of

taking Subsys and had not taken Subsys for two days. The medical notes


                                       32
again reflect that A.P. was diagnosed with sarcoidosis, chronic pain

syndrome, rheumatoid arthritis, and Raynaud’s phenomenon.

     140. Notwithstanding, A.P.’s concerns, on the same day, August

31, 2015, Dr. Baddick prescribed Subsys 600 mcg four times a day (120

units) to A.P.

     141. A.P.’s August 31, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to TRICARE. TRICARE paid the pharmacy $11,891.66 for the August

31st Subsys prescription written by Dr. Baddick.

     142. Dr. Baddick’s medical records indicate that he saw A.P. on

September 28, 2015, for a monthly medication check and prescription

refills. The medical notes again reflect that A.P. was diagnosed with

sarcoidosis, chronic pain syndrome, rheumatoid arthritis, and Raynaud’s

phenomenon.

     143. On September 28, 2015, Dr. Baddick prescribed Subsys 600

mcg four times a day (120 units) to A.P.

     144. A.P.’s September 28, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim




                                   33
to TRICARE.       TRICARE paid the pharmacy $11,819.66 for the

September 28th Subsys prescription written by Dr. Baddick.

     145. Dr. Baddick’s medical records indicate that he saw A.P. on

October 27, 2015, for a monthly medication check and prescription refills

for OxyContin and Subsys. The medical notes again reflect that A.P. was

diagnosed with sarcoidosis, chronic pain syndrome, rheumatoid arthritis,

and Raynaud’s syndrome.

     146. On October 27, 2015, Dr. Baddick prescribed Subsys 600 mcg

four times a day (120 units) to A.P.

     147. A.P.’s October 27, 2015, Subsys prescription written by Dr.

Baddick was filled by a pharmacy and the pharmacy submitted a claim

to TRICARE. TRICARE paid the pharmacy $11,856.13 for the October

27th Subsys prescription written by Dr. Baddick.

     148. Dr. Baddick’s medical records indicate that he saw A.P. on

November 25, 2015, a for monthly medication check and prescription

refills for OxyContin and Subsys. The medical notes again reflect that

A.P. was diagnosed with sarcoidosis, chronic pain syndrome, rheumatoid

arthritis, and Raynaud’s phenomenon.




                                       34
     149. On November 25, 2015, Dr. Baddick prescribed Subsys 600

mcg four times a day (120 units) to A.P.

     150. There is no record of A.P.’s November 25, 2015, Subsys

prescription ever being filled.

     151. Dr. Baddick’s medical records indicate that he saw A.P. for

her last medical appointment on December 16, 2015, for a monthly

medication check and prescription refills. The medical notes reflect that

A.P. informed Dr. Baddick that A.P. was no longer taking Subsys. The

medical notes again reflect that A.P. was diagnosed with sarcoidosis,

chronic   pain   syndrome,        rheumatoid   arthritis,   and   Raynaud’s

phenomenon.

     152. During the six months Dr. Baddick saw A.P., there is no

record that Dr. Baddick ever requested or obtained records from any

health care provider that had previously treated or was treating A.P.

     153. During the six months Dr. Baddick saw A.P., there is no

record that Dr. Baddick ever ordered blood work for A.P.

     154. During the six months Dr. Baddick saw A.P., there is no

record that Dr. Baddick ever ordered any diagnostic tests for A.P., beyond

urine (drug) screens.


                                      35
     155. All of Dr. Baddick’s prescriptions for Subsys to Patient A.P.

from June of 2015 through October 2015 are identified below

       Date     of                                   Paid by
       Rx            Details/Dosage                  Tricare
       6/10/2015     Subsys 200 mcg                  $5,502.13
       6/22/2015     Subsys 1200 mcg                 $20,798.68
       7/21/2015     Subsys 600 mcg                  $23,857.07
       8/3/2015      Subsys 600 mcg                  $11,918.66
       8/31/2015     Subsys 600 mcg                  $11,891.66
       9/28/2015     Subsys 600 mcg                  $11,891.66
       10/27/2015    Subsys 600 mcg                  $11,856.13

     156. A.P. did not have a cancer diagnosis. Subsys is not indicated

by A.P.’s diagnoses. Dr. Baddick prescribed Subsys to A.P. without a

legitimate medical purpose and outside the usual course of professional

practice. Therefore, none of the Subsys prescriptions Dr. Baddick wrote

for A.P. were valid, lawful prescriptions under Pennsylvania law.

                              COUNT 1

       False or Fraudulent Claims to Medicare 31 U.S.C. §
      3729(a)(1)(A)) (previously 31 U.S.C. § 3729(a)(1)(1986))

     157. The United States repeats and realleges paragraphs 1

through 156 above.

     158. This is a claim for treble damages and penalties under the

False Claims Act, 31 U.S.C. § 3729, et seq. as amended.

     159. Dr. Baddick knowingly, or with reckless disregard, caused to be

                                   36
presented false or fraudulent claims for payment or approval, in violation

of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A), specifically, Dr. Baddick

caused a pharmacy to submit requests for payment to Medicare Part D

Plan Sponsors for Subsys prescriptions that were false or fraudulent for

two reasons.    First, the Subsys prescriptions were not issued for a

legitimate medical purpose and therefore not for “medically accepted

indications,” and thus not covered Medicare Part D drugs. 42 U.S.C.

§ 1395w-102(e)(1), referring to § 1395w-102(e)(4), which incorporates the

definition of “medically accepted indication” found in § 1396r-8(k)(6).

Second, Subsys was dispensed without a valid prescription under

Pennsylvania law, 28 Pa. Code § 25.51 and § 25.52, because the

prescriptions were not issued for a legitimate medical purpose by Dr.

Baddick acting in the usual course of professional practice, and thus not

covered Medicare drugs. 42 U.S.C. § 1395w-102(e); 42 C.F.R. § 423.104(h).

     160. Because of Dr. Baddick’s acts, the United States

suffered damages in an amount to be determined at trial, and therefore

is entitled to treble damages under the False Claims Act, as well as a

such civil penalties as are permitted by law, for each claim submitted to

the Medicare Program.


                                    37
                               COUNT 2

                 False Statements to Medicare
31 U.S.C. § 3729(a)(1)(B)(previously 31 U.S.C. § 3729(a)(2)(1986))

     161. The United States repeats and realleges paragraphs 1

through 160 above.

     162. This is a claim for treble damages and penalties under the

False Claims Act, 31 U.S.C. § 3729, et seq. as amended.

     163. Dr. Baddick knowingly caused to be made or used a false

record or statement material to a false or fraudulent claim, in violation

of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B), specifically, Dr.

Baddick caused a pharmacy to submit false information to Medicare Part

D Plan Sponsors for Subsys prescriptions that were false or fraudulent

for two reasons. First, the Subsys prescriptions were not issued for a

legitimate medical purpose and therefore not for “medically accepted

indications,” and thus not covered Medicare Part D drugs. 42 U.S.C.

§ 1395w-102(e)(1), referring to § 1395w-102(e)(4), which incorporates the

definition of “medically accepted indication” found in § 1396r-8(k)(6).

Second, Subsys was dispensed without a valid prescription under

Pennsylvania law, 28 Pa. Code § 25.51 and § 25.52 because the

prescriptions were not issued for a legitimate medical purpose by Dr.

                                   38
Baddick acting in the usual course of professional practice, and thus not

covered Medicare drugs.        42 U.S.C. § 1395w-102(e); 42 C.F.R.

§ 423.104(h).

     164. Because of Dr. Baddick’s acts, the United States suffered

damages in an amount to be determined at trial, and therefore is entitled

to treble damages under the False Claims Act, as well as a such civil

penalties as are permitted by law, for each claim submitted to the

Medicare Program.

                               COUNT 3

False or Fraudulent Claims to TRICARE 31 U.S.C. § 3729(a)(1)(A)
            (previously 31 U.S.C. § 3729(a)(1)(1986))

     165. The United States repeats and realleges paragraphs 1

through 164 above.

     166. This is a claim for treble damages and penalties under the

False Claims Act, 31 U.S.C. § 3729, et seq. as amended.

     167. Dr. Baddick knowingly caused to be presented false or

fraudulent claims for payment or approval, in violation of the False

Claims Act, 31 U.S.C. § 3729(a)(1)(A), specifically, Dr. Baddick caused a

pharmacy to submit requests for payment to TRICARE for Subsys

prescriptions that were false or fraudulent for two reasons. First, the

                                   39
prescriptions were not issued for a legitimate medical purpose and

therefore not “medically necessary prescription drugs required in the

treatment of an illness or injury,” and thus not covered by TRICARE. 32

C.F.R. § 199.4.      Second, Subsys was dispensed without a valid

prescription under Pennsylvania law, 28 Pa. Code § 25.51 and § 25.52,

because the prescriptions were not issued for a legitimate purpose by Dr.

Baddick acting in the usual course of professional practice, and thus not

covered TRICARE drugs.

     168. Because of Dr. Baddick’s acts, the United States suffered

damages in an amount to be determined at trial, and therefore is entitled

to treble damages under the False Claims Act, as well as a such civil

penalties as are permitted by law, for each claim submitted to TRICARE.

                               COUNT 4

      False Statements to TRICARE 31 U.S.C. § 3729(a)(1)(B)
             (previously 31 U.S.C. § 3729(a)(2)(1986))

     169. The United States repeats and realleges paragraphs 1

through 168 above.

     170. This is a claim for treble damages and penalties under the

False Claims Act, 31 U.S.C. § 3729, et seq. as amended.

     171. Dr. Baddick knowingly caused to be made or used a false

                                   40
record or statement material to a false or fraudulent claim, in violation

of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B), including Dr. Baddick

caused a pharmacy to submit false information to TRICARE for

medications, including controlled substances, that were false or

fraudulent for two reasons. First, the prescriptions were not issued for a

legitimate medical purpose and therefore not “medically necessary

prescription drugs required in the treatment of an illness or injury,” and

thus not covered by TRICARE. 32 C.F.R. § 199.4.       Second, Subys was

dispensed without a valid prescription under Pennsylvania law, 28 Pa.

Code § 25.51 and § 25.52, because the prescriptions were not issued for a

legitimate purpose by Dr. Baddick acting in the usual course of

professional practice, and thus not covered TRICARE drugs.

     172. Because of Dr. Baddick’s acts, the United States suffered

damages in an amount to be determined at trial, and therefore is entitled

to treble damages under the False Claims Act, as well as a such civil

penalties as are permitted by law, for each claim submitted to TRICARE.

                               COUNT 5

                    Payment by Mistake of Fact

     173. The United States repeats and realleges paragraphs 1


                                    41
through 172 above.

     174. Dr. Baddick caused the submission of (a) pharmacy’s requests

for payment to Medicare Part D Plan Sponsors for Subsys that were not

dispensed for a legitimate medical purpose under the CSA and/or that

lacked a valid prescription under Pennsylvania law as required by

Medicare and the CSA, (b) a pharmacy’s requests for payment to

TRICARE for Subys prescriptions that were not dispensed for a

legitimate medical purpose under the CSA and/or that lacked a valid

prescription under Pennsylvania law as required by TRICARE and the

CSA and such claims represent misrepresentations of material facts in

that Dr. Baddick caused misrepresentations that the medications and

services were reimbursable as billed.

     175. The United States paid more money to the pharmacy than

it would have based on the erroneous belief that the pharmacy was

entitled to reimbursement and without knowing that Dr. Baddick caused

to be submitted, the pharmacy’s requests for payment for Subsys

prescriptions that were not covered to Medicare Part D Plan Sponsors

and to TRICARE.

     176. The United States, acting in reasonable reliance that the


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pharmacy’s claims and/or the related PDE data or pharmacy’s TRICARE

claims were accurate, complete, and truthful, paid Medicare Part D Plan

Sponsors and/or the pharmacy certain sums of money to which they were

not entitled, and Dr. Baddick is thus liable to account and pay to the

United States, which are to be determined at trial.

                        PRAYER FOR RELIEF

      Wherefore, the United States demands and prays that judgment be

entered in its favor and against Dr. Baddick as follows:

      A.    On Counts 1, 2, 3, and 4 for the amount of the United States’

damages, trebled as required by law, and such penalties as are permitted

by law, together with all such further relief as may be just and proper.

      B.    On Count 5 for payment by mistake, for the amounts he

caused Medicare and TRICARE to pay to a pharmacy to which the

pharmacy was not entitled, plus interest, costs, and expenses.

      C.    All other relief as may be required or authorized by law in the

interests of justice.




                                    43
                   DEMAND FOR JURY TRIAL

     The United States demands a jury trial.



                                Respectfully,

                                JOHN C. GURGANUS
                                UNITED STATES ATTORNEY

                                s/D. Brian Simpson
                                D. BRIAN SIMPSON
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Dated: April 6, 2022            E-Mail: d.brian.simpson@usdoj.gov




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